Where a bill is for an account generally, then the plea of a stated account is a good plea in bar; for the account having been settled by the parties, the presumption is that it hath been fairly settled, and the Court will not open it again merely because asked for by the party; but where the bill states a settled account and errors in the account, and fraud or imposition in the settlement, then if the defendant does not deny the error and fraud, the plaintiff's allegations remain unanswered, and the Court will open the account as to the errors pointed out; but if the plea denies the error and fraud, and the fraud be denied in the answer, also, so that issue may be taken upon the error and fraud, the plea of a state account is a good bar in law. And if the plaintiff doth not take issue, and prove the error and fraud, the Court will not open the account in any manner; but if issue be taken upon these points, and found for the plaintiff, then the Court will order the account to be opened as to the errors complained of and proved. But the plea and answer must deny the error as positively as they are alleged, so that issue may be taken on these very points. For want of that particular, the plea would be ill. But here it is full, and issue may be taken precisely and specially upon the errors and fraud, and therefore the plea is good and must be allowed; but the plaintiff must still reply and take issue. *Page 209 